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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM

Honorable Kimberly J. Mueller               RE: Wei Hu
United States District Judge                    Docket Number: 2:14CR00220-007
Sacramento, California                          PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY

Your Honor:


Wei Hu is requesting permission to travel to Hong Kong. He is current with all supervision
obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On November 9, 2016, Wei Hu was sentenced for the
offense of 21 U.S.C. 846 and 841(a)(1), Conspiracy to Manufacture Marijuana (Class C Felony).


Sentence Imposed: 12 months 1 day custody in Bureau of Prisons; 3 years Supervised Release;
and $100 Special Assessment (paid).


Dates and Mode of Travel: April 5, 2018, through May 15, 2015. Mode of travel is airline.


Purpose: Vacation.




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                                                                                               REV. 03/2017
                                                                TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Wei Hu
         Docket Number: 2:14CR00220-007
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,


                                       /s/ Adrian Garcia
                                     ADRIAN GARCIA
                                United States Probation Officer

Dated:     March 28, 2018
           Fresno, California
           AG/dp


REVIEWED BY:                 /s/ Tim D. Mechem
                           TIM D. MECHEM
                           Supervising United States Probation Officer



                                 ORDER OF THE COURT

The Court orders:

         ☒Approved ☐ Disapproved

DATED: April 4, 2018.



                                UNITED STATES DISTRICT JUDGE




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                                                                                                 REV. 03/2017
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
